Case 19-00005               Doc 71-1           Filed 02/03/20 Entered 02/03/20 17:07:08                                   Desc Proposed
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